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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                       :
                                             :
WCD, LLC                                     :       Case No. 17-36817
                                             :       Chapter 11
DEBTOR                                       :

                                NOTICE OF HEARING

        Please be advised that a hearing has been set on the Debtor’s Amended Motion To

Convert Chapter 11 Case to a Case under Chapter 7 of the Bankruptcy Code (Doc. No.

58) in the above referenced case for Wednesday, August 1, 2018 at 2:00 o’clock P.M. at

515 Rusk, Houston, Texas 77002 in Courtroom 600.


                                             Respectfully Submitted,

                                             _/s/ Larry A. Vick____________________
                                             LARRY A. VICK
                                             Texas Bar No. 20563500
                                             10497 Town & Country Way, Suite 700
                                             Houston, Texas 77024
                                             lv@larryvick.com
                                             (713) 239-1062
                                             (823) 202-2821 Fax

                                             ATTORNEY FOR DEBTOR

                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing Notice has
been served upon the debtors and all creditors and parties in interest as shown below and
all parties on the Court’s ecf system by U.S. Mail and/or via the ecf, on this 28th day of
July, 2018.


                                             _/s/ Larry A. Vick___________________
                                             LARRY A. VICK
WCD, LLC, Debtor
3902 Braxton Drive
Houston, TX 77063
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ADT, LLC
8755 West Higgins Road, Suite 610
Chicago, IL 60631

Affinity Law Group, LLC
1610 Des Peres Road, Suite 100
St. Louis, MO 63131

Aire Serv of The Woodlands & Conroe
3224 Pine Acres Road
Conroe, TX 77384

Andrew's Awesome Company
9124 West County Road D
Exeland, WI 54835

ATEC Training & Certification LLC
3409 Brinkman Street, Suite A
Houston, TX 77018

Benefits Plans Plus, LLC
6 Cityplace Drive, Suite 700
Saint Louis, MO 63141

Blue Cross Blue Shield
Health Care Service Corp Box 731428
14800 Frye Road, 2nd Floor
Ft. Worth, TX 76155

Bryan Cave LLP
211 N. Broadway, Suite 3600
St. Louis, MO 63102

Corporate Incentives, Inc.
26414 Oak Ridge Drive
The Woodlands, TX 77380

Corporation Service Company
2711 Centerville Road
Wilmington, DE 19808

David Smith
59 Creek Forest Lane
Conroe, TX 77384

Andrew Wainright d/b/a Deep Ocean
28019 E. Benders Landing Blvd.
Spring, TX 77386

Dell Business Credit
P O Box 5275
Carol Stream, IL 60197

DynaQual Test Labs
301 Wells Fargo Drive, Suite C10
Houston, TX 77090
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EMA Design Automation
P O Box 23325
Rochester, NY 14692

Envirotest, LLC
3902 Braxton Drive
Houston, TX 77063

Fisher Phillips
1075 Peachtree St, Suite 3500 NE
Atlanta, GA 30309

Funding Circle Partners, LP
747 Front Street, Floor 4
San Francisco, CA 94111

Greater Houston Manufacturers Assoc.
1305 W. 11th Street, #222
Houston, TX 77008

Hansen Manufacturing, Inc.
4807 Ramus Street
Houston, TX 77092

Innovative IDM
1625 Wallace Drive, Suite 110
Carrollton, TX 75006

J.E.F. Fabrication, Inc.
25803 Oak Ridge Drive
Spring, TX 77380

Jamesco Electronics
1355 Shoreway Road
Belmont, CA 94002

Jerry Cummings Jar Consulting
22619 Rockgate Drive
Spring, TX 77373

John Mayer, Attorney
Ross, Banks, May, Cron & Cavin, P.C.
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Houston, TX 77063

Laser Imaging
P O Box 690229
Houston, TX 77269-0229

Lemon Cleaning Company
11811 N. Freeway, Suite 500
Houston, TX 77060

Libra Industries/Libra Dallas Plant
P O Box 932495
Cleveland, OH 44193
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Magnetek, Inc.
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Carol Stream, IL 60197-8497

Makay Consulting Services
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Conroe, TX 77382

McMaster-Carr
P O Box 740100
Atlanta, GA 30374-0100

Mercury Well Control
3902 Braxton Drive
Houston, TX 77063

Montgomery County Alarm Detail

Montgomery County Tax Assessor/Collector
c/o Tara L. Grundemeier
P. O. Box 3064
Houston, TX 77253

Motion Industries
P O Box 849737
Dallas, TX 75284-9737

Muse Metal Laboratories, Inc.
1110 S. Virginia Street
Terrell, TX 75160

Niltronix Circuits
1765 Upland Drive
Houston, TX 77042

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c/o Joe Silbey, Attorney
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Pillarstone Capital Reit Operating Partnership
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Principal Life Insurance
PLIC - SBD Grand Island
P O Box 10372
Des Moines, IA 50306-0372

Ramtec Training Services, LLC
P O Box 940637
Houston, TX 77094

ReadyRefresh by Nestle
P O Box 856680
Louisville, KY 40285-6680

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c/o Marc L. Ellison, Attorney
Totz Ellison & Totz, P.C.
2211 Norfolk, Suite 510
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Ruth Smith
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Stuart Williams
Sitex Environmental, Inc.
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St. Louis, MO 63104

Suntronic Inc.
10501 Kipp Way Drive, Suite 350
Houston, TX 77099

Syncfusion
2501 Aerial Center Parkway, #200
Morrisville, NC 27560

Texas Workforce Commission
Tax Department
19221 I-45 S., Suite 250
Shenandoah, TX 77385-2232

Timco Machine Company Inc.
2503 1/2 Brammel Timbers Lane
Houston, TX 77068

U. S. Trustee
515 Rusk, Suite 3615
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